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EXHIBIT B
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Appellate Disizion of the Supreme Court

of the State of Nef Bork
Hirst Judicial Department

JI, Dasid Spokony, Clerk of the Appellate Dibision of the
Supreme Court of the State of New York, Hirst Judicial
Department, certify that

ANDREW EDWARD KRAUSE
fas duly licensed and admitted to practice as an Attorney and
Counsellor at Dato in all the courts of the State of New York on
Hebruary 27, 2006, has duly taken and subscribed the oath of
office prescribed by laf, has been enrolled in the Roll of Attorneys
and Gounsellors at Daf on file in my office, has duly registered
fith the administratibe office of the courts, sith according to the
records of this court is in good standing as an attorney and

counsellor at lato.

Iu Witness hereof, I habe hereunto set my
hand and affixed the seu! of this court on

Hebruary 22, 2010

Gt Loborg-
Mob

4644 Glerk of the Court

